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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Criminal Action No. 16-229 (BAH)
RUBEN OSEGUERA-GONZALEZ, Judge Beryl A. Howell
Defendant.

MEMORANDUM OPINION AND ORDER

Defendant Ruben Oseguera-Gonzalez faces trial on September 9, 2024, on a two-count
superseding indictment, arising from his alleged drug trafficking and use and possession of a
firearm in furtherance thereof. This is not the first trial date set in this case. The first trial date,
scheduled for May 1, 2023, at the parties’ joint request, see Min. Order (June 1, 2022), was
vacated after the parties jointly requested a change of plea hearing, see Joint Mot. to Set Plea
Hr’g, ECF No. 44, which change of plea hearing was aborted, when the evening before the
hearing, defendant advised he had retained new counsel, who was unprepared to proceed to trial
on the scheduled date, see Min. Entry (Apr. 12, 2023). Pending before the Court are defendant’s
Motion to Preclude the Use of Defendant’s Statements Made During the Course of Plea
Negotiations (““Def.’s Mot.”), ECF No. 137, and the government’s corresponding Motion in
Limine to Admit Signed Statement of Facts and Opposition to Defendant’s Motion to Preclude
Use of the Same (““Gov’t’s MIL”), ECF Nos. 144 (sealed), 146 (public, redacted). For the
reasons set forth below, defendant’s motion is GRANTED, and the government’s motion is

DENIED.
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I. BACKGROUND

As part of an extensive and long-term investigation into the drug trafficking activities of
the Cartel de Jalisco Nueva Generacion (“CJNG”’), a large and violent drug trafficking
organization based in Jalisco, Mexico, responsible for trafficking bulk quantities of cocaine,
methamphetamine, and heroin into the United States, the Drug Enforcement Agency identified
defendant as the son of Nemesio Oseguera-Cervantes, also known as “Mencho,” who is the
leader of the CJNG, and as a high-ranking participant in CJNG’s drug trafficking. See Gov’t’s
Mot. for Pre-Trial Det. (“Gov’t’s Det. Mot.”) at 2, 6, ECF No. 13. In February 2017, the
government filed a two-count superseding indictment against defendant, charging him with
conspiring, from around 2007 until February 1, 2017, to distribute five kilograms of more of a
mixture and substance containing a detectable amount of cocaine, as well as 500 grams or more
of a mixture and substance containing a detectable amount of methamphetamine, for unlawful
importation into the United States, in violation of 21 U.S.C. §§ 959(a), 960, and 963, and 18
U.S.C. § 2 (Count One); and using, carrying, brandishing, and possessing a firearm, including a
destructive device, in furtherance of the drug trafficking offense charged in Count One, in
violation of 18 U.S.C. §§ 924(c)(1)(A)(i), 924(c)(1)(A) Gi), 924(c)(1)(B)(ii), and 2 (Count Two).
See Superseding Indictment, ECF No. 6. Defendant was extradited from Mexico to Washington,
D.C. on February 20, 2020, to face prosecution on the Superseding Indictment, see Gov’t’s Det.
Mot. at 2.

For over three years, the parties engaged in extensive discovery. As noted, upon joint
motion by the parties, a trial on all charges was scheduled for early May 2023. See Min. Order
(June 1, 2022) (scheduling trial for May 1, 2023); Notice of Rescheduled Hr’g (Jan. 11, 2023)

(rescheduling trial for May 2, 2023); see also Joint Mot. to Exclude Time & Set Trial Date, ECF
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No. 39. The day before pretrial motions were due, and approximately two weeks before the
pretrial conference, the parties jointly moved for a plea hearing. See Joint Mot. to Set Plea Hr’g.
A plea hearing was scheduled for April 12, 2023. See Min. Order (Mar. 21, 2023). In
preparation, the government filed a Second Superseding Information, ECF No. 48, and the
parties entered into a plea agreement (“Plea Agreement’), with an accompanying statement of
facts (“SOF”), see Gov’t’s MIL, Ex. A (“Plea Agreement”), ECF No. 146-2; Gov’t’s MIL, Ex. C
(“Plea Addendum”), ECF No. 144-1; Gov’t’s MIL, Ex. B (“SOF”), ECF No. 146-3.! Defendant
and his counsel signed both the Plea Agreement and SOF on April 6, 2023, see Plea Agreement
at 9; Plea Addendum at 8; SOF at 7, and defense counsel emailed the signed paperwork to the
Court on the same day, see Gov’t’s MIL at 2-3.

On the evening of April 11, 2023, just before the scheduled plea hearing, the government
learned that defendant’s family had retained new defense counsel, Arturo Hernandez, see Gov’t’s
Mot. for Conflict Inquiry (“Gov’t’s Conflict Mot.”) at 2, ECF No. 50, and that defendant wanted
to confer with Hernandez prior to pleading guilty, see Gov’t’s MIL at 3. Concerned that a
conflict might arise because several of defendant’s co-conspirators in the drug conspiracy
charged in Count One are members of defendant’s family, the government moved for a conflict
inquiry and appointment of conflicts counsel. Gov’t’s Conflict Mot. at 2; see also Gov’t’s Mot.
for Appointment of Conflicts Couns. at 1, ECF No. 60.” To address the parties’ concerns, the
plea hearing was converted into a status hearing, see Min. Entry (Apr. 12, 2023), the

government’s motion for a conflict inquiry and appointment of conflicts counsel was granted,

} The Second Superseding Information amended Count Two to replace the destructive device enhancement

under 18 U.S.C. § 924(c)(1)(B){ii), with a semiautomatic assault weapon enhancement under 18 U.S.C.
§ 924(c)(1)(B)(@, thereby lowering the mandatory minimum on Count Two from 30 to 10 years.

2 At least eight of defendant’s family members have been charged in related cases. See Hr’g Tr. (Apr. 21,
2023) at 4, ECF No. 109. Defendant’s father, for example, is Nemesio Oseguera-Cervantes, the alleged leader of
the CJNG and a fugitive charged in this District. See United States v. Oseguera-Cervantes, No. 14-cr-51-2.

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and the May 2023 trial date was vacated “to give the conflicts counsel time to evaluate a
potential conflict and submit a report to the Court,” Min. Entry (Apr. 21, 2023).

After investigating the matter, the conflicts counsel found no actual conflict and that
defendant expressly waived any possible or potential conflict. See Rep. of Indep. Couns. at 7,
ECF No. 66; see also Hr’g Tr. (May 12, 2023) at 17-18, ECF No. 108 (the Court finding that
defendant knowingly and intelligently waived any conflict), At the conflict hearing on May 12,
2023, the Court reviewed with defendant “all of the various issues that are at issue when there is
a potential conflict,” Hr’g Tr. (May 12, 2023) at 11, which included asking the government for
its position on how Federal Rule of Evidence (“FRE”) 410 would apply to “any statements made
by this defendant to the government, either orally or signed in a written statement as part of any
plea discussions that occurred,” if defendant chose not to enter a guilty plea, id. at 8. The
government stated its position that the SOF is not “a statement that is made in furtherance of plea
negotiations,” but a “final statement” that is “the result of the plea negotiations” and “can be
used against him” if defendant “withdraw[s] from th[e] plea agreement.” Jd. at 9-10. Though
“not making any kind of ruling” about the admissibility of “the signed paperwork and other oral
statements that may have been made in connection with the plea,” the Court confirmed with
defendant and his counsel that they understood the government’s position and the consequences
thereof. Jd. at 10. Hernandez acknowledged that he discussed with defendant the government’s
position, adding that he had advised defendant that the plea documents would likely be
inadmissible, having been allegedly “read to him by a noncertified court interpreter.” Jd. at 12.
Given that the purpose of the hearing was to ascertain conflict, not evaluate the admissibility of
defendant’s SOF, no ruling was issued on whether defendant waived his rights under procedural

or evidentiary rules. Hernandez was permitted to appear as defense counsel, and prior counsels’
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motion to withdraw was granted. See id. at 18; Min. Entry (May 12, 2023) (excluding time
under the Speedy Trial Act from May 12, 2023, to September 15, 2023, “to give new counsel
and his client the time to start reviewing the discovery and decide how to proceed in this
matter”).?

At the next status conference four months later, a trial on all charges was scheduled for
October 7, 2024, upon joint request of the parties. See Min. Entry (Sept. 15, 2023); Min. Order
(Sept. 15, 2023). The parties informed the Court, however, that they were still engaged in plea
negotiations, and that the Plea Agreement would be kept open until October 16, 2023. See Hr’g
Tr. (Sept. 15, 2023) at 6, ECF No. 106. While noting that the issue was unresolved and the
parties “may want to litigate” the issue, the Court again notified defendant of “the potential risk”
that the “signed statement of facts may be used against him at trial.” Jd. at 7. Defense counsel
confirmed that he and defendant “have discussed that at length,” and that defendant “understands
the risk and he understands the benefits.” Jd.

After the October 16, 2023, deadline passed without a change of plea hearing, the Second
Superseding Information was dismissed on the government’s motion, see Min. Order (Oct. 17,
2023); Gov’t’s Mot. to Dismiss, ECF No. 73, and the trial date was rescheduled, with the parties’

consent, to September 9, 2024, see Min. Order (Nov. 27, 2023).

3 Despite the conflicts counsel’s conclusion that no actual conflict existed and that defendant had expressly

waived any possible or potential conflicts, Hernandez moved, in November 2023, to withdraw as counsel to avoid
any perceived or actual conflict of interest. See Def.’s Ist Mot. to Withdraw as Att’y, ECF No. 88; Def.’s Am. Mot.
to Withdraw as Att’y, ECF No. 91. Hernandez’s motion was twice denied without prejudice, for failing to offer any
“discussion of new information to alter that prior independent conclusion and waiver, [or] about any impact on the
operative schedule of proceedings set out in the [scheduling order] issued on September 15, 2023, including the trial
date, [or] acknowledgment of the interests served by continuity of counsel, considering the long pendency and the
volume of discovery at-issue in this matter and previous delays caused by new counsel.” Min. Order (Nov. 8, 2023);
see also Min. Order (Nov. 10, 2023). His motion was eventually granted at the pretrial conference on November 17,
2023, after hearing from the parties, including defendant’s new counsel. See Min. Order (Nov. 17, 2023).

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IL. DISCUSSION

Federal Rule of Criminal Procedure (“Rule”) 11 and FRE 410 limit the admissibility of
“a plea, a plea discussion, and any related statement.” FED. R. CRIM. P. 11(f) (providing that
“admissibility or inadmissibility” is governed by FRE 410). In relevant part, FRE 410 makes
inadmissible against a defendant any statement the defendant “made during plea discussions with
an attorney for the prosecuting authority if the discussions did not result in a guilty plea or they
resulted in a later-withdrawn guilty plea,” FED. R. EvID. 410(a)(4), with two specifically
delineated exceptions not at issue here, see FED. R. Evip. 410(b).

Defendant concedes that the statements made by him during plea negotiations are
admissible for impeachment or rebuttal purposes. See Def.’s Mot. at 1-2; Gov’t’s MIL at 1 n.1.
Thus, the scope of the instant dispute is narrow: whether the government may admit defendant’s
signed SOF in its case-in-chief.* Relying on Rule 11(f) and FRE 410, defendant argues that the
government cannot use his SOF in its case-in-chief because “[t]here was no unambiguous
knowing and voluntary waiver,” where “no plea of guilty was entered, and no Rule 11 plea
colloquy [was] conducted.” Def.’s Mot. at 2. The government, in turn, argues that Rule 11(f)
and FRE 410 are inapplicable because defendant’s SOF was finalized after plea negotiations
concluded and, even if applicable, defendant, by signing the Plea Agreement, voluntarily and

knowingly waived any protection those two rules provide. Gov’t’s MIL at 8. For the reasons set

4 The government responds only to defendant’s arguments about the use of his signed SOF in the

government’s case-in-chief, see Gov’t’s MIL at 1, without addressing defendant’s broader arguments that the
government cannot use any statements made by defendant during plea negotiations, see Def.’s Mot. at 1.
Consequently, the government is deemed to concede the broader exclusion urged by defendant as to his statements
made during plea negotiations. See Wannall v. Honeywell, Inc., 775 F.3d 425, 428 (D.C. Cir. 2014) (“[I]f a party
files an opposition to a motion and therein addresses only some of the movant’s arguments, the court may treat the
unaddressed arguments as conceded.”).
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forth below, defendant’s SOF cannot be used in the government’s case-in-chief, pursuant to Rule
11(f) and FRE 410.°

A. Applicability of Rule 11(f) and FRE 410

Plea bargaining has long been accepted as “central to the administration of the criminal
justice system.” Missouri v. Frye, 566 U.S. 134, 143 (2012); see also Bordenkircher v. Hayes,
434 US. 357, 361-62 (1978) (“Whatever might be the situation in an ideal world, the fact is that
the guilty plea and the often concomitant plea bargain are important components of this
country’s criminal justice system. Properly administered, they can benefit all concerned.”
(alteration in original accepted and citation omitted)); United States v. Jenkins, 50 F.4th 1185,
1205 (D.C. Cir. 2022) (“[P]lea bargaining is ubiquitous in the criminal justice system.”). FRE
410 “seeks to promote negotiated dispositions of criminal cases by giving the defendant
protection from involuntary self-incrimination at two ends of the plea-bargaining spectrum:
while he is negotiating over the disposition of his case and while he is offering or entering a plea
that is rejected or later withdraw.” United States v. Davis, 617 F.2d 677, 683 (D.C. Cir. 1979).®

The parties dispute the scope and applicability of FRE 410(a)(4), which “focuses

primarily on the negotiation stage” for a defendant’s entry of guilty plea and “derives from ‘the

5 The government’s arguments that the SOF is admissible, pursuant to FRE 801 and 403, thus need not be
addressed. See Gov’t’s MIL at 5-8, 18-20.

6 Davis concerns a prior iteration of Rule 11(e)(6), which provided that any “statement[] made in connection
with, and relevant to” “a plea of guilty, later withdraw” “is not admissible in any civil or criminal proceeding against
the person who made the offers.” Davis, 617 F.2d at 682. This language is seemingly broader than the current
version of FRE 410, which applies to “statements made during plea discussions with an attorney for the prosecuting
authority,” and, in some cases, this prior iteration of Rule 11(e)(6) might protect statements that would now not be
protected under FRE 410. See United States v. Marks, 209 F.3d 577, 582 (6th Cir. 2000) (explaining that “Congress
amended Rule (e)(6) in 1979” in part to narrow “what Congress thought was a too-broad view of the plea
negotiation process”). “The rationales behind [Rule 11(e)(6) and FRE 410] are the same,” however, Davis, 617 F.2d
at 682 n.13, and any disconnect due to language differences between Rule 11(e)(6) and FRE 410 has been obviated
by the current version of Rule 11, as amended in 2002 to eliminate subsection (e)(6) and add Rule 11(f), cross
referencing FRE 410. See FED. R. CRIM. P. 11(f) (“The admissibility or inadmissibility of a plea, a plea discussion,
and any related statement is governed by Federal Rule of Evidence 410.”).

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inescapable truth that for plea bargaining to work effectively and fairly, a defendant must be free
to negotiate without fear that his statements will later be used against him.’” Jd. (quoting United
States v. Herman, 544 F.2d 791, 796 (Sth Cir. 1977)). FRE 410(a)(4) fosters this free dialogue
by making inadmissible against a defendant statements by the defendant “made during plea
discussions with an attorney for the prosecuting authority,” FED. R. Evip. 410(a)(4), but only to
the extent “the accused and the government actually engage in plea negotiations,” that is,
“discussions in advance of the time for pleading with a view to an agreement whereby the
defendant will enter a plea in the hope of receiving certain charge or sentence concessions,”
United States v. Knight, 867 F.2d 1285, 1288 (11th Cir. 1989) (emphasis omitted) (quoting
United States v. Robertson, 582 F.2d 1356, 1365 (Sth Cir. 1978)).

Defendant posits that the SOF at issue was “made during plea discussions,” under FRE
410(a)(4), since this document “was part and parcel to the negotiated plea bargain and
agreement, and cannot through magic or slight of hand now be separated.” Def.’s Reply Supp.
Mot. to Preclude (“Def.’s Reply”) at 2, ECF No. 164. The government disagrees, arguing that
the Plea Agreement and SOF were “the final product of plea negotiation adopted after the parties
concluded negotiations” and were sent to “defense counsel for signatures [only] to effectuate the
finalized agreement—not for further negotiations.” Gov’t’s MIL at 10-11. Defendant has the
better interpretation on the factual record in this case.

Starting with the text of FRE 410, statements “made during plea discussions with an
attorney for the prosecuting authority” are inadmissible under FRE 410(a)(4). “During” means
“throughout” “the time during which something exists or lasts.” During, Merriam-Webster,
https://www.merriam-webster.com/dictionary/during; Duration, Merriam-Webster,

https://www.merriam-webster.com/dictionary/duration; see also During, Oxford Eng.
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Dictionary, https://www.oed.com/dictionary/during prep (“[t]hroughout the whole continuance
of’). A plea agreement, and corresponding statement of facts, are a quintessential part of the
“fairly formal plea bargaining between the United States Attorney and counsel for defendant
after charges had been, or were about to be, made.” United States v. Stirling, 371 F.2d 708, 731
(2d Cir. 1978) (citation omitted). Indeed, as the government implicitly concedes, the Plea
Agreement was not “effect[ive]” until signed by defendant and his counsel. Gov’t’s MIL at 11.
The SOF, in turn, was explicitly incorporated into the Plea Agreement, see Plea Agreement {| 1
(providing that the SOF “is attached to this Plea Agreement and incorporated herein”), which
incorporation makes clear that defendant’s SOF was drafted as part of the Plea Agreement and
for the purpose of “reach[ing] a plea agreement,” Davis, 617 F.2d at 683 n.17. Put differently,
the SOF was a statement made prior to the “formalization of the plea agreement,” Davis, 617
F.2d at 684, and was “part of [the parties’] efforts to dispose of the matter—through extraction of
information from [defendant] and, possibly, a plea,” United States v. Wood, 879 F.2d 927, 936
(D.C. Cir. 1989); see United States v. El-Amin, 268 F. Supp. 2d 639, 641 (E.D. Va. 2003)
(concluding that defendant’s statement of facts was “made as a part of the plea agreement
process,” having been “executed according to and in conformity with the Plea Agreement”);
United States v. Alazzam, No. 8-cr-101, 2009 WL 3245392, at *2 (E.D. Va. Sept. 29, 2009)
(rejecting same argument made by the government here because the statement of facts “clearly
embraces statements made as part of the plea agreement process” (citation omitted)).

This interpretation is supported by the purpose of FRE 410(a)(4) “to promote the free and
open negotiation that must precede any compromise between the defense and the prosecution.”
Davis, 617 F.2d at 685. Parties routinely negotiate over the facts included in a defendant’s

statement of facts and the precise wording thereof because these “admissions form the factual
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basis that establish the elements of the offense required to be proven by the Government beyond
a reasonable doubt.” Def.’s Reply at 2; see also SOF at 1 (explaining that the SOF “represents
sufficient information for the Court to find a factual basis for accepting the Defendant’s guilty
plea”). Modifications of the statement of facts, even if signed in good faith, may occur during
the Rule 11 colloquy before a judge, who must make inquiry of a defendant, under oath, about
the facts “[b]efore entering judgment on a guilty plea,” in order to make the requisite
determination “that there is a factual basis for the plea.” FED. R. CRIM. P. 11 (b)(3). Absent the
shield of FRE 410(a)(4), “the possibility of self-incrimination would discourage defendants from
being completely candid and open during plea negotiations,” including in the crafting of a
statement of facts that satisfies both the government and defendant, Davis, 617 F.2d at 683, as
well as during a Rule 11 plea colloquy.

As comparison, take the D.C. Circuit’s decision in Davis, concluding that a defendant’s
grand jury testimony, after execution of and pursuant to a plea agreement, fell outside the scope
of FRE 410(a)(4) and was thus admissible, even though the defendant ultimately withdrew from
the agreement before entering a formal guilty plea in a Rule 11 colloquy before a judge. Jd. at
683-84. In so concluding, the Court explained that if such testimony could be excluded, a
defendant could say whatever he wanted before the grand jury and “breach his [plea] bargain
with impunity”; that is, any defendant who “wants out” of his agreement “could renounce the
agreement and return to the status quo ante whenever he chose, even though the Government has
no parallel power to rescind the compromise unilaterally.” Jd. at 685-86. This concern of a
defendant being able to renounce a plea agreement unilaterally and with no repercussion is not
implicated by excluding defendant’s SOF here, where the statements at issue were not made

under oath after executing the plea agreement but were part of the SOF signed as a necessary

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step to conclude the plea negotiations and enter the agreement. Cf Stirling, 571 F.2d at 731
(concluding that Rule 11(e)(6) does not apply to “testimony given after formalization of a
negotiated plea agreement and before withdrawal from that agreement”); United States v. Lloyd,
43 F.3d 1183, 1186 (8th Cir. 1994) (finding that “[o]nce [defendant] signed the [plea] agreement,
negotiations terminated and Rule 11(e)(6) by its terms no longer required exclusion of his
subsequent statements”); United States v. Watkins, 85 F.3d 498, 500 (10th Cir. 1996) (suggesting
that the trigger for Rule 11(e)(6) is “the finalization of[] a plea agreement”). Accordingly, the
SOF occurred “during plea discussions” pursuant to FRE 410(a)(4).

As a final note, the government’s competing interpretation would create a significant
loophole in FRE 410. According to the government, plea negotiations in this case ended in
March 2023, before either the government or defendant signed the plea paperwork. Under this
characterization of the chronology, the Plea Agreement and SOF are documents that merely
“memorialized the results of the negotiation” and, as such, are admissible as statements that
occurred after plea negotiations concluded. Gov’t’s MIL at 10.’ Here, defendant never attended
a Rule 11 plea hearing, but imagine a scenario where defendant had, and either his guilty plea
was rejected by the court or accepted then later withdrawn by defendant. Under the
government’s interpretation of FRE 410, defendant’s Plea Agreement and SOF would be
admissible, as statements made after plea discussions, even though defendant’s statements at the

Rule 11 plea hearing would be inadmissible under FRE 410(a)(3). See FED. R. EVID. 410(a)(3)

7 If the government were correct that plea negotiations in this case ended in March 2023, the unsigned SOF

would also be a statement that occurred after plea negotiations had ended and thus would not be protected under
FRE 410, thereby leaving open the possibility that even the unsigned SOF could be admissible. In reply, the
government appears to concede that the unsigned SOF would be a statement made during plea discussions, see
Gov’t’s Reply Supp. Mot. to Admit at 3 n.1, ECF No. 164, but this concession is inconsistent with the government’s
position that plea negotiations ended in March 2023. The better interpretation is that both the signed and unsigned
SOFs are statements made during plea negotiations, and whether defendant signed the SOF goes to waiver.

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(providing that “‘a statement made during a proceeding on [a guilty plea] under Federal Rule of
Criminal Procedure 11” is inadmissible).

This result makes no sense. Rule 11 requires that a court “find a factual basis for the plea
before accepting it,” United States v. Ford, 993 F.2d 249, 253 (D.C. Cir. 1993); see also FED. R.
CriM. P. 11(b)(3), which finding necessarily involves considering the factual allegations in
defendant’s SOF. When a plea is rejected or withdrawn, excluding statements made at a Rule 11
plea hearing is “necessary to effectuate the rejection or later withdrawal” because “[w]ere the
statements admissible, the defendant’s own incriminating words, inseparably linked to a plea
now regarded as a nullity, in many cases would operate to convict him, thereby rendering
meaningless the rejection or withdrawal.” Davis, 617 F.2d at 684. The government’s
interpretation of FRE 410, under which the Plea Agreement and SOF would be admissible in
such scenario, would create a workaround FRE 410(a)(3) and render the rejection or withdrawal
of a plea of inconsequential. For these reasons, Rule 11(f) and FRE 410 apply to defendant’s
SOF.

B. Waiver

The question whether defendant waived his rights under Rule 11(f) and FRE 410
remains. “A criminal defendant may knowingly and voluntarily waive many of the most
fundamental protections afforded by the Constitution” and statutes, including the rights
guaranteed by Rule 11(f) and FRE 410. See United States v. Mezzanatto, 513 U.S. 196, 201
(1995); see also United States v. Hunt, 843 F.3d 1022, 1027 (D.C. Cir. 2016) (“[A] knowing,
intelligent, and voluntary . . . waiver, even though anticipatory, generally may be enforced.”

(citation omitted)). These rights can be waived not only for purposes of impeachment and

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rebuttal, but also for purposes of the prosecution’s case-in-chief. See United States v. Burch, 156
F.3d 1315, 1320 (D.C. Cir. 1998).

Both sides, properly, look to the relevant language from the Plea Agreement to assess
whether a waiver of the rights provided by Rule 11(f) and FRE 410 occurred here. The pertinent
text in three separate sentences is as follows:

The Defendant acknowledges discussing with his counsel Rule 11(f) of the Federal

Rules of Criminal Procedure and Federal Rule of Evidence 410, rules which

ordinarily limit the admissibility of statements made by a defendant in the course

of plea discussions or plea proceedings if a guilty plea is later withdrawn. The

Defendant knowingly and voluntarily waives the rights which arise under these

rules. As a result of this waiver, the Defendant understands and agrees that any

statements which are made in the course of his guilty plea will be admissible against

him for any purpose in any criminal or civil proceeding if the Defendant breaches
the Plea Agreement or his guilty plea is subsequently withdrawn.

Plea Addendum 45. The parties’ dispute raises two separate questions: (1) as to timing, under
the Plea Agreement, does defendant waive his Rule 11(f) and FRE 410 rights upon signing the
agreement, or upon acceptance of the agreement by the Court as part of the Rule 11 plea
colloquy; and (2) was defendant’s waiver knowing and voluntary? For the reasons explained
below, based on the text of the Plea Agreement, alone, defendant did not waive his Rule 11(f)
and FRE 410 rights upon signing the Plea Agreement. Thus, the parties’ arguments as to the
second question about whether any waiver was knowing and voluntary, including any arguments
about whether Spanish interpretation was provided, need not be addressed.

“Interpretation of a plea agreement begins with [the] plain language,” Hunt, 843 F.3d at
1027, and the text of the relevant paragraph contains expansive language in the second sentence
which states, in full: “The Defendant knowingly and voluntarily waives the rights which arise
under these rules,” Plea Addendum J 5. Yet, this sentence is sandwiched between the first and
third sentences, both of which contain language cabining this waiver to encompass all statements

made by defendant only when a decision on his guilty plea is made by the Court. The first
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sentence of the waiver paragraph, for example, states that defendant has “discuss[ed] with his
counsel” and “knowingly and voluntarily waives” his rights under Rule 11(f) and FRE 410,
which rules “ordinarily limit the admissibility of statements made by a defendant in the course of
plea discussions or plea proceedings if a guilty plea is later withdrawn.” Id. (emphasis added).
The reference to “plea proceedings” could reasonably be interpreted to suggest that the phrase “if
a guilty plea is later withdrawn” contemplates the withdrawal of a guilty plea after defendant has
engaged in a Rule 11 plea colloquy, and the Court has accepted the Plea Agreement. The third
sentence reinforces this understanding, by summarizing that defendant waives the use against
him of “any statements which are made in the course of his guilty plea” if “his guilty plea is
subsequently withdrawn.” Jd. These references to statements made by defendant during “plea
proceedings” indicate that the waiver provision becomes effective upon acceptance of
defendant’s plea, rather than defendant’s signing of the Plea Agreement.

The use of the phrase “guilty plea” elsewhere in the Plea Agreement reinforces this
understanding. Paragraph 6, for example, provides that “by pleading guilty in this case,”
defendant “agrees to waive certain rights afforded by the Constitution of the United States and/or
by statute, including the right to plead not guilty, the right to a jury trial, and the right to effective
assistance of counsel.” Plea Agreement { 6. That defendant does not waive these rights until the
Court accepts his guilty plea is undisputed. See United States v. Baptiste, No. 17-cr-10305, 2019
WL 2331628, at *1 (D. Mass. May 31, 2019) (concluding that the FRE 410 waiver in
defendant’s plea agreement was not enforceable until defendant actually pleaded guilty because
the agreement included other waivers, including venue and statute of limitations waivers, that

“would clearly not be enforceable absent an actual change of plea’). It thus logically follows

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that, under the terms of the Plea Agreement, defendant’s Rule 11(f) and FRE 410 rights are also
not waived until defendant’s guilty plea is accepted.
The government, in response, argues that the Plea Agreement is unambiguous, having

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specified that “breaching the Plea Agreement” “trigger[s] the waiver” and that defendant’s
refusal to plead guilty constituted a breach. Gov’t’s MIL at 14; see also id. at 21-22; Gov’t’s
Reply at 4 (emphasizing that the Plea Agreement required defendant “to plead guilty to the
Superseding Information”). Nothing in the Plea Agreement, however, suggests that defendant
waived his right under Rule 11(d) to “withdraw a plea of guilty” “before the court accepts the
plea, for any reason or no reason.” FED. R. CRIM. P. 11(d)(1). This right was not discussed
with—much less waived by—defendant in the Plea Agreement or during any of the status
conferences, and without an explicit waiver, defendant’s right under Rule 11(d) cannot be
deemed waived. Indeed, the Fifth Circuit addressed and rejected a similar argument made by the
government in United States v. Escobedo, explaining that where a plea agreement did not
“clearly or unambiguously state” that defendant’s “withdrawal of his guilty plea under [Rule]
11(d)(1) would constitute a breach of the agreement,” and defendant withdrew his plea under
Rule 11(d)(1) with no objection from the government, defendant’s Rule 11(f) and FRE 410
waiver did not become effective “contemporaneously with his signing of the plea agreement.”
757 F.3d 229, 233-34 (Sth Cir. 2014).

In addition, nothing in the Plea Agreement makes explicit that the terms of this
agreement, including all the waivers therein, became binding with defendant’s signature. United
States v. Washburn, which the government cites, undermines rather than supports its position.

See Gov’t’s MIL at 15. Although the Eighth Circuit in Washburn concluded that the waiver of

defendant’s rights under Rule 11(f) and FRE 410 was triggered when defendant chose not to

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plead guilty, despite signing the plea agreement, the operative plea agreement language in
Washburn provided that “[d]efendant waives [his rights under Rule 11(f) and FRE 410] and
agrees this stipulation may be used against defendant at any time in any proceeding should
defendant violate or refuse to follow through on this plea agreement, regardless of whether the
plea agreement has been accepted by the Court.” 728 F.3d 775, 780 (8th Cir. 2013) (part of
emphasis in original omitted). No such language appears in the Plea Agreement here that would
make clear that the waiver of defendant’s rights under Rule 11(f) and FRE 410 occurs upon
defendant’s and his counsel’s execution of the Plea Agreement and SOF.

Take, as another example, the standard language used by the United States Attorney’s
Office (““USAO”) for the District of Columbia in its plea agreements:

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of

Criminal Procedure and Federal Rule of Evidence 410, which ordinarily limit the

admissibility of statements made by a defendant in the course of plea discussions

or plea proceedings if a guilty plea is later withdrawn. Your client knowingly and

voluntarily waives the rights that arise under these rules in the event your client

withdraws your client’s guilty plea or withdraws from this Agreement after signing
it.

Plea Agreement § 9.B, United States v. Olugbenga, No. 23-cr-202, ECF No. 119. This language,
though similar to the language in defendant’s Plea Agreement, is different in the critical aspect
that it unambiguously states that a defendant “knowingly and voluntarily waives” his rights
under Rule 11(f) and FRE 410 not only if he “withdraws [his] guilty plea” but also if he
“withdraws from this Agreement after signing it.” Put another way, under the USAO’s
language, a defendant’s signing of the agreement undisputedly triggers the waiver of his rights
under Rule 11(f) and FRE 410. In fact, the distinction in the USAO’s language between the
circumstance when a defendant “withdraws [his] guilty plea” and “withdraws from this
Agreement after signing it” reinforces the interpretation that the waiver in the Plea Agreement in

this case is triggered only when a defendant withdraws from his guilty plea after it has been
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accepted by the Court, not when a defendant withdraws from the Plea Agreement after signing it.
If the government had intended for the Plea Agreement to waive defendant’s rights upon signing,
it could—and should—have explicitly said so. See United States v. Jim, 786 F.3d 802, 806 (10th
Cir. 2015) (finding waiver upon signing where the plea agreement stated that “the Defendant
agrees that, upon the Defendant's signing of this plea agreement, the facts that the Defendant has
admitted under this plea agreement as set forth above, as well as any facts to which the
Defendant admits in open court shall be admissible against the Defendant” (emphasis added)).

To be sure, interpreting the Rule 11(f) and FRE 410 waiver in the Plea Agreement to
become effective only upon the Court’s acceptance of the agreement is not the only permissible
interpretation. As the government points out, portions of the Plea Agreement suggest that the
government intended for the Plea Agreement to become binding upon signing. See Gov’t’s
Reply at 4-5. “Ambiguity in a plea agreement,” however, “as in any other type of contract, is
construed against the drafter,” the government. Hunt, 843 F.3d at 1027; United States v.
Moreno-Membache, 995 F.3d 249, 255 (D.C. Cir. 2021) (“Under settled precedent, ambiguity in
the meaning of a plea agreement must be resolved against the government.”). Indeed, the
government is held “to a greater degree of responsibility than the defendant (or possibly than
would be either of the parties to commercial contracts) for imprecisions or ambiguities in plea
agreements.” United States v. Wood, 378 F.3d 342, 348 (4th Cir. 2004) (citation omitted).
Where a defendant “only arguably or ambiguously” waives his rights, such a waiver will not be
enforced against defendant. Hunt, 843 F.3d at 1027; cf Moreno-Membache, 995 F.3d at 251
(“[T]he law demands clarity when constitutional rights are waived.”’).

Finally, consideration of Rule 11, which governs “the formation and acceptance of a

binding plea agreement,” further reinforces that defendant’s interpretation is the better one.

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United States v. Novosel, 481 F.3d 1288, 1291-92 (10th Cir. 2007); see also Ford, 993 F.2d at
253 (“Entry of a plea of guilty is governed by Rule 11 of the Federal Rules of Criminal
Procedure.”); United States v. Partida-Parra, 859 F.2d 629, 634 (9th Cir. 1988) (“The formation
of binding plea agreements is governed not by the Uniform Commercial Code, but by the Federal
Rules of Criminal Procedure, which requires, among other things, that the court approve the plea
agreement.”). A plea agreement is “not simply a contract between two parties” because such an
agreement “necessarily implicates the integrity of the criminal justice system.” Wood, 378 F.3d
at 348. Rule 11, therefore, “requires the courts to exercise judicial authority in considering the
plea agreement and in accepting or rejecting the plea.” Jd. “A plea bargain standing alone is
without constitutional significance; in itself it is a mere executory agreement which, until
embodied in the judgment of a court, does not deprive an accused of liberty or any other
constitutionally protected interest.” Mabry v. Johnson, 467 U.S. 504, 507 (1984); Novosel, 481
F.3d at 1292 (“Courts have held that under Rule 11, a plea agreement . . . must be accepted by
the court before it is binding.” (alteration in original accepted and citation omitted)); United
States v. Gonzalez, 918 F.2d 1129, 1133 (3d Cir. 1990) (“It is axiomatic that a plea agreement is
neither binding nor enforceable until it is accepted in open court.”); United States v. Fagan, 996
F.2d 1009, 1013 (9th Cir. 1993) (“A plea agreement that has not been entered and accepted by
the trial court does not bind the parties.”); United States v. Price, 237 F. Supp. 2d 1, 4.n.1
(D.D.C. 2002) (“The law is clear that, whether or not it is ‘fair,’ the government may revoke a
plea offer at any time until the guilty plea is entered and accepted by the court.”). Based on these
principles, a defendant may reasonably conclude that the Rule 11(f) and FRE 410 waiver did not

become effective until his plea was accepted by the Court.

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The government responds that “[a] colloquy with a judge regarding a specific waiver is
not required for the waiver to be valid because a defendant can receive the requisite knowledge
through competent counsel,” Gov’t’s MIL at 13; see also id. at 16-17, but perusal of the cases
cited by the government reveal that the government has overplayed its hand. These cases stand
for the basic proposition that a Rule 11 colloquy need not pour over every term in a plea
agreement, as long as the district court confirms with defense counsel and accepts counsel’s
representation that the terms of the plea agreement “were explained to the defendant.” Bradshaw
v. Stumpf, 545 U.S. 175, 183 (2003); see also Henderson v. Morgan, 426 U.S. 637, 647 (1976)
(explaining that the record must contain “either an explanation of the charge by the trial judge, or
at least a representation by defense counsel that the nature of the offense has been explained to
the accused”); see also Burch, 156 F.3d at 1323 (allowing the government to use defendant’s
statement of facts, in part, because the trial court “went through the specific terms of the plea
agreement with [defendant], including the provision in which he waived his rights under Rules
11(e)(6) and 410,” which terms defendant repeatedly acknowledged; and collecting cases that
support the proposition that “where the trial court conduct[s] an extensive Rule 11 colloquy... ,
there is no reason to cast doubt on the court’s conclusion that the plea was voluntary”). Here,
defendant never engaged in a Rule 11 plea colloquy. No findings were made regarding whether
defendant knowingly and voluntarily understood and accepted the terms of his Plea Agreement
after consultation with counsel, or defendant’s understanding of when the waivers in his Plea
Agreement became effective. See FED. R. CRIM. P. 11(b)(2) (requiring courts, before accepting a
guilty plea, to “determine that the plea is voluntary”); see also Ford, 993 F.2d at 253 (explaining
that “the Court’s duty under Rule 11(d)” is “to determine that the plea has been voluntarily made

before accepting it’’).

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In sum, given that the Plea Agreement did not unambiguously waive defendant’s rights
under Rule 11(f) and FRE 410 in the situation here, where defendant signed the plea paperwork,
but then changed counsel and decided not to proceed with a Rule 11 plea colloquy or entry of a
guilty plea, defendant’s SOF executed as part of and in support of the Plea Agreement remains
subject to the protections of those procedural and evidentiary rules. Accordingly, defendant’s
SOF is inadmissible in the government’s case-in-chief pursuant to Rule 11(f) and FRE 410.

Il. CONCLUSION AND ORDER

For the foregoing reasons, it is:

ORDERED that defendant’s Motion to Preclude the Use of Defendant’s Statements
Made During the Course of Plea Negotiations, ECF No. 137, is GRANTED; it is further

ORDERED that the government’s Motion in Limine to Admit Signed Statement of Facts
and Opposition to Defendant’s Motion to Preclude Use of the Same, ECF Nos. 144, 146, is
DENIED;; it is further

ORDERED that the government may use defendant’s Statement of Facts, ECF No. 146-
3, for impeachment purposes, but not in its case-in-chief; and it is further

ORDERED that the parties shall file, by August 7, 2024, a joint status report, providing
their positions on whether this Memorandum Opinion and Order may be unsealed in full, without
redaction; and if not, providing a full explanation for why partial sealing is necessary, with
proposed redactions to the Memorandum Opinion and Order.

SO ORDERED.

Date: August 5, 2024

OD) f/f Gol”

BERYL A. HOWELL
United States District Judge

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